                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

Levita Simmons, Administrator of the          CASE NO. 6:21-cv-02036
Estate of Arthur Scott, and Jeffrey
Orvis, Administrator of the Estate of
James Orvis,

                               Plaintiffs,

vs.

Tyson Foods, Inc., doing business as
Tyson Pet Products, and Tyson Fresh
Meats Group, a wholly owned
subsidiary of Tyson Foods, Inc., John
H. Tyson, Noel W. White, Dean Banks,
Steven R. Stouffer, Tom Brower, Mary
A. Oleksink, Elizabeth Croston, Scott
Walston, David Scott, Tom Hart, Cody
Brustkern, John Casey, Bret Tapken,
Hamdija Beganovic, Ramiz Mujelic,
and Unknown Plant Managers and
Supervisors at Tyson Waterloo Plant
and Unknown Plant Managers and
Supervisors at Tyson Independence
Plant,

                             Defendants.



       TYSON FOODS, INC. and TYSON FRESH MEATS GROUP’S
                      MOTION TO DISMISS
                           (Oral Argument Requested)

      Tyson Foods, Inc. and Tyson Fresh Meats Group (“Tyson”) respectfully move to

dismiss the complaint under Rule 12(b)(6) because the claim against Tyson is barred

by the Iowa Workers’ Compensation Act.

      In addition, the complaint fails to plausibly allege that Tyson caused the alleged

injury, and even if the allegations were otherwise sufficient, the alleged cause of
action would be barred by the Iowa “COVID-19 Response and Back-to-Business Lim-

ited Liability Act” and preempted by federal law. This Motion is supported by the

attached Brief in Support of Motion to Dismiss pursuant to Local Rule 7.

    WHEREFORE, Tyson Foods, Inc. and Tyson Fresh Meats Group respectfully

request this Court dismiss Plaintiffs’ complaint and for such further relied as the

Court deems just and necessary.

Dated: June 28, 2021                      Respectfully submitted,



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                                          MARY A. OLEKSINK, ELIZABETH



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  CROSTON, SCOTT WALSTON,
  DAVID SCOTT, AND RAMIZ
  MUJELIC




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on June 28, 2021, a true and correct copy of the foregoing

document was served upon all counsel of record via the Court’s CM/ECF system as

follows:

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